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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           HELENA DIVISION


 UNITED STATES OF AMERICA,                           CR 15–11–H–CCL-04
                      Plaintiff,
                                                   ACCEPTANCE OF PLEA
                                                    AND ADJUDICATION
        vs.                                             OF GUILT


 DEEJAY POYNTER,


                      Defendant.



      In accordance with the Findings and Recommendations (Doc. 139) of

United States Magistrate Judge John Johnston, to which there has been no

objection, in light of Defendant’s Consent/Waiver to Plea (Doc. 138), and subject

to this Court’s consideration of the Plea Agreement under Fed. R. Crim. P.

11(c)(3), Defendant’s pleas of guilty to Counts II and III of the Indictment are

hereby accepted, subject to the Court’s review of the Presentence Report. The
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Defendant is adjudged guilty of the offenses of Distribution of Methamphetamine

as charged in Counts II and III of the Indictment.

      Dated this 15th day of April, 2016.




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